                    EXHIBIT G




Case 1:20-cv-00954-UA-JLW Document 7-7 Filed 10/21/20 Page 1 of 9
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Middle District
                                                       __________       of North
                                                                    District     Carolina
                                                                             of __________
                          Farhad Azima
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
Nicholas Del Rosso and Vital Management Services,
                                                                              )
                       Inc.
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                            Bank of America Corporation
To:                                                  100 North Tryon Street, Charlotte, NC 28255
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           Please see Attachment A.

 Place: Womble Bond Dickinson (US) LLP, One Wells Fargo                                 Date and Time:
          Center, 301 S College St #3500, Charlotte, NC 28202
                                                                                                             11/30/2020 3:19 pm

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Farhad Azima
                                                                        , who issues or requests this subpoena, are:
Kirby Behre, 900 16th Street NW, Washington, D.C. 20006, kbehre@milchev.com, 202-626-5960

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


                   Case 1:20-cv-00954-UA-JLW Document 7-7 Filed 10/21/20 Page 2 of 9
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




                    Case 1:20-cv-00954-UA-JLW Document 7-7 Filed 10/21/20 Page 3 of 9
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                    Case 1:20-cv-00954-UA-JLW Document 7-7 Filed 10/21/20 Page 4 of 9
                                           Attachment A
                                          INSTRUCTIONS
        1.     Prior to answering the following, you are requested to make a due and diligent
search of your books, records, and papers, with a view to eliciting all information responsive to
this subpoena.

       2.     If you object to any request on the basis of privilege, please identify the nature of
the documents being withheld on that basis.

        3.      If any document responsive to this request was, but no longer is in your
possession, state whether it is missing or lost; if it has been destroyed; if it has been transferred,
voluntarily or involuntarily, to others; or if it has otherwise been disposed of. In each instance,
identify the document fully, explain the circumstances, and identify the people having
knowledge of such circumstances.

       4.      If you contend that any documents covered in these requests are not reasonably
accessible or would be unduly burdensome to locate or produce, identify such documents by
category and source and provide detailed information regarding the burden or cost you claim is
associated with the search for or production of such documents.

       5.      To the extent documents produced in response to this request include electronic
documents, such as spreadsheets or databases, please produce all such documents in native form,
ensuring that all formulae and metadata embedded in such documents are produced.

      6.      To the extent you intend to not produce a requested document, you are directed to
make and safeguard a copy of the requested information.

       7.     The relevant time period for documents responsive to the following requests shall
be between January 1, 2014 until now.



                                           DEFINITIONS
       1.      The term “communications” means any oral, written, or electronic transmission of
information, including without limitation any face-to-face meetings, letters, emails, text
messages, social media messaging, or telephone calls, chat rooms, or group list serves.

       2.      The term “document” is intended to be as comprehensive as the meaning provided
in Rule 34 of the Federal Rules of Civil Procedure.




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       Case 1:20-cv-00954-UA-JLW Document 7-7 Filed 10/21/20 Page 5 of 9
        3.     The term “person” means any individual, corporation, partnership, proprietorship,
association, organization, governmental entity, group of persons or any other entity of whatever
nature.

        4.      The terms “relate to” or “relating to” means consisting of, referring to, regarding,
reflecting, supporting, prepared in connection with, used in preparation of, or being in any way
logically or factually connected with the matter discussed.

        5.    “Nicholas Del Rosso” refers to Nicholas Del Rosso, the owner and sole employee
of his company, Vital Management Services Inc. Del Rosso resides at 318 Lystra Preserve Drive,
Chapel Hill, North Carolina 27517.

        6.     “Vital Management Services, Inc.” refers to a purported but unlicensed private
investigation service owned and operated by Nicholas Del Rosso located at 1340 Environ Way,
Chapel Hill, North Carolina, 27517.

        7.      “Dechert LLP” refers to Dechert LLP and all current and former employees,
agents, representatives, subsidiaries, affiliates, assignees, or other persons acting or purporting to
act on its behalf, including but not limited to Neil Gerrard, David Hughes, or Caroline Black.

       8.    “Page Group Limited” refers to a private investigative firm based in London,
United Kingdom.

       9.       “Stuart Page” refers to the CEO of Page Group Limited.

        10.    “CyberRoot” refers to CyberRoot Risk Advisory Private Limited and all current
and former employees, agents, representatives, subsidiaries, affiliates, assignees, or other persons
acting or purporting to act on its behalf, including but not limited to the following:

               Komal Komal
               Divyanshu (Anshu) Rajput
               Megha Saroeval
               Preeti Thapliyal
               Umang Pathak
               Ajay S, Sr.
               Gracy D’Souza
               Urvashi Pathania
               Apoorva Singhal
               Vibhor Sharma
               Sudhir Kumar
               Puja Singh
               Sunil Awasthi



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       Case 1:20-cv-00954-UA-JLW Document 7-7 Filed 10/21/20 Page 6 of 9
              Amit Kumar
              Aakash Guglani
              Neha Wadhwa
              Mukesh Bhatia
              Amit Mehra
              Anirudh Gupta
              Amit Kumar
              Abhilash Kumar
              Priya Singh
              Vijay Bisht
              C Ahuja
              Vikash Saw
              Vijay Singh Bisht.
              Rhyme U.
              Manogna Penubarthi
              Hem Pant
              Abhi V.
              Kratiak Tripathi
              Abilash Kumar.

        11.      “BellTroX” refers to BellTroX Info Tech Services and all employees, agents,
representatives, subsidiaries, affiliates, assignees, or other persons acting or purporting to act on
its behalf, including but not limited to the following:

              Mahendra Singh
              Aditi Gupta
              Himanshu Sharma
              Abhishek Pallav
              Ashish Tanwar
              Aman Kumar
              Vikas Sharma
              Neha Sharma
              Nobojeet Purty
              Zuni Thompson
              Sonia Nehra
              Sumit Gupta
              Pavan Kodan
              Preeti Thapiyal
              Vishavdeep Singh
              Surindre Mehra
              Chirag Goyal


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       Case 1:20-cv-00954-UA-JLW Document 7-7 Filed 10/21/20 Page 7 of 9
              Vishal Rana
              Aman Singh
              Rajiv Sharma
              Pradeep Kumar
              Abhishek Dogra
              Prashant Singh
              Chitranshu Jain
              Rahul Aggarwal
              Mayur Udiniya
              Akshay Bisht
              Sunaina Koul
              Dal Bahadur B.K.
              Mayank Rohatgi
              Prashant Tripathi
              Deepak Pandita
              Kunal Khurana
              Ceh Rajput
              Jatin Anand
              Ashish Tanwar
              Amit Yadav
              Mansi Chawla
              Abhishek Pallav
              Sachin Jonda.

      12.     “Kotak Mahindra Bank” refers to a private banking company based in Mumbai,
Maharashtra, India which counts CyberRoot as one of its customers.

       13.     The term “you” means THE BANK OF AMERICA CORPORATION and all
employees, agents, representatives, subsidiaries, affiliates, assignees, or other persons acting or
purporting to act on its behalf.



                               DOCUMENTS TO BE PRODUCED
       1.      All documents relating to any transfer of money, including but not limited to
checks, wire transfers, or any other method of transfer, between Nicholas Del Rosso or Vital
Management and any of the following:

              Dechert LLP
              CyberRoot
              BellTroX



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       Case 1:20-cv-00954-UA-JLW Document 7-7 Filed 10/21/20 Page 8 of 9
      Kotak Mahindra Bank.
      Stuart Page
      Page Group.




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Case 1:20-cv-00954-UA-JLW Document 7-7 Filed 10/21/20 Page 9 of 9
